
48 N.Y.2d 673 (1979)
June F. O'Neill, Appellant,
v.
Board of Elections of St. Lawrence County, and William H. Power, Jr., Respondent.
Court of Appeals of the State of New York.
Argued October 9, 1979.
Decided October 11, 1979.
Stephen J. Easter for appellant.
William H. Power, Jr., respondent pro se.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
Order affirmed, without costs, for the reasons stated in the memorandum at the Appellate Division, noting that the finding of Special Term that petitioner instituted this proceeding in her individual capacity does not affect the outcome.
